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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


In re:                                                      Chapter 15

MtGox Co., Ltd. (a/k/a MtGox KK),                           Case No. 14-31229 (SGJ)


                  Debtor in a Foreign Proceeding.


  FOREIGN REPRESENTATIVE’S NOTICE OF SUBPOENA DUCES TECUM ON
THE UNITED STATES ATTORNEY’S OFFICE FOR THE NORTHERN DISTRICT OF
               CALIFORNIA (SAN FRANCISCO DIVISION)

         TO: U.S. Attorney’s Office, Northern District of California (San Francisco Division),
         attn. Savith Iyengar & Wil Frentzen, Assistant United States Attorneys, 450 Golden Gate
         Avenue, Box 36055, San Francisco, California 94012-3495.

         PLEASE TAKE NOTICE that, pursuant to 11 U.S.C. §1521(a)(4) and (5) of Chapter 15

of the United States Bankruptcy Code, Nobuaki Kobayashi, the court-appointed Foreign

Representative (the “Foreign Representative”) in the foreign main proceeding currently

pending before the Twentieth Civil Division of the Tokyo District Court, Japan, in relation to the

Chapter 15 United States Bankruptcy Court case of In re MtGox Co., Ltd. (a/k/a MtGox KK)

(Case No. 14-31229-sgj-15) (Northern District of Texas (Dallas) (the “Bankruptcy Court”)

(and the Debtor, “MtGox”), hereby serves this notice of subpoena duces tecum on the U.S.

Attorney’s Office for the Northern District of California (San Francisco Division) (the “U.S.

Attorneys”).     The Foreign Representative is entitled to the full protections and rights

enumerated under sections 1521(a)(4) and 1521(a)(5) of the Bankruptcy Code, and accordingly,

the Foreign Representative: (a) has the right and power to examine witnesses, take evidence or

deliver information concerning the MtGox’s assets, affairs, rights, obligations, or liabilities; and

(b) is entrusted with the administration and realization of all of the MtGox’s assets within the
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territorial jurisdiction of the United States.   See Order Modifying Recognition Pursuant to

Bankruptcy Code Section 1517(D) and Recognizing Foreign Main Proceeding and Granting

Related Relief ¶¶ 8(a)-(b) [ECF No. 194].

       The U.S. Attorneys are prosecuting a civil case and criminal case against Alexander

Vinnik (“Vinnik”) and BTC-e, which both assert claims stemming from Vinnik’s alleged

operation of an unlicensed money service business, an alleged conspiracy to commit money

laundering, money laundering, and engagement in unlawful monetary transactions. See USA v.

BTC-e a/k/a Canton Bus. Corp., and Alexander Vinnik (4:19-cv-04281-KAW). The criminal case

seeks forfeiture of wrongfully obtained assets, and the civil case seeks the imposition of civil

monetary penalties. See USA v. BTC-e a/k/a Canton Bus. Corp., and Alexander Vinnik (16-cr-

00227-SI). The Foreign Representative believes that Vinnik and BTC-e may have wrongfully

stolen or converted bitcoin from MtGox, in which MtGox has property interests. The U.S.

Attorneys investigation may have developed additional facts and information in this regard and

your Office’s or the United States’ seizure of property from Vinnik and BTC-e may include

property in which MtGox has property interests. In light of the Foreign Representative’s duties,

the Foreign Representative seeks information from the U.S. Attorneys about the nature and

location of such property of MtGox.

       The U.S. Attorneys are required, to the extent that the U.S. Attorneys possess documents,

to produce the original, or a copy of all Documents listed and defined on the document attached

hereto as Exhibit A to the undersigned counsel at the offices of Brown Rudnick LLP, Seven

Times Square, Fl. 47, New York, NY 10036. The Documents should be produced no later than

May 14, 2021.




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DATED: March 26, 2020.



                                      BROWN RUDNICK LLP

                                      By: _____David J. Molton

                                      David J. Molton (admitted pro hac vice)
                                      Gerard T. Cicero (admitted pro hac vice)
                                      Seven Times Square
                                      New York, New York 10036
                                      Telephone: (212) 209-4800
                                      Facsimile: (212) 209-4801
                                      Email: dmolton@brownrudnick.com
                                      Email: gcicero@brownrudnick.com

                                      Counsel on behalf of Nobuaki Kobayashi, court-
                                      appointed Foreign Representative in the Second
                                      Civil Rehabilitation Proceeding of MtGox.




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                                            EXHIBIT A

                  DOCUMENT TO BE PRODUCED BY U.S. ATTORNEYS

                                          DEFINITIONS

         For purposes of the below document requests (the “Requests”), the following terms shall

apply:

         1.     “Chapter 15 Case” means the above-captioned chapter 15 case.

         2.     “Communication” includes any contact or act by which any information or

knowledge is transmitted or conveyed between two or more persons or entities, by whatever

means accomplished, and includes written contact such as correspondence, letters, notes,

advertisements, proposals, solicitation, memoranda, telegrams, facsimiles, emails, or electronic

file transfers, and oral transmission and conveyance of information, including face-to-face

meetings, telephone conversations, and video conferences.

         3.     “Concerning” means relating to, evidencing, supporting, negating, refuting,

embodying, containing, memorializing, comprising, reflecting, analyzing, constituting,

describing, identifying, referring to, referencing, discussing, indicating, connected with or

otherwise pertaining in any way, in whole or in part, to the subject matter being referenced.

         4.     “Debtor” means the debtor in the Chapter 15 Case, and shall include anyone

acting on their behalf, over whom they have control, or which is, or may be subrogated to their

interests, including, without limitation, any current of former director, any officer, agent, servant,

employee, attorney, insurance company, investigator, independent adjusting company, affiliate,

subsidiary, or other person or entity.

         5.     “Document” has the broadest possible meaning under Federal Rule of Civil

Procedure 34 and includes each and every form of Communication, and also includes, without

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limitation, all written, printed, typed, recorded, or graphic matter of any kind, type, nature, or

description, in whatever form (e.g., final and draft versions) that is or has been in Your, as

defined herein, actual or constructive possession, custody or control, including, but not limited

to, all printed and electronic copies of electronic mail, notes, correspondence, memoranda, tapes,

stenographic or handwritten notes, written forms of any kind, charts, blueprints, drawings,

sketches, graphs, plans, articles, specifications, diaries, letters, telegrams, photographs, minutes,

contracts, agreements, reports, surveys, computer printouts, data compilations of any kind,

teletypes, telexes, facsimiles, invoices, order forms, checks, drafts, statements, credit memos,

reports, summaries, books, ledgers, notebooks, schedules, transparencies, recordings, catalogs,

advertisements, promotional materials, films, video tapes, audio tapes, brochures, pamphlets or

any written or recorded materials of any other kind, however stored (whether in tangible or

electronic form), recorded, produced or reproduced, including backup tapes.               The term

“Document” shall include not only originals, but also any copies or reproductions of all such

written, printed, typed, recorded, or graphic matter upon which any notations, comments or

markings of any kind have been made that do not appear on the original documents or that are

otherwise not identical to the original documents.

       6.      “Electronically Stored Information” refers to all electronic data (including active

data, archival data, backup data, backup tapes, distributed data, electronic mail, forensic copies,

metadata, and residual data) stored in any medium from which information can be obtained.

       7.      “Person” means a natural person or an entity, including, without limitation, a

corporation, partnership, firm, sole proprietorship, association, joint venture, unincorporated

association, trust, or any other entity of any type or description whatsoever, whether formed for

business or other purposes.

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       8.      “Person” or “Persons” means all natural persons, corporations, partnerships or

other business associations and all other legal or governmental entities or associations.

       9.      “You” or “Your” means a member of the U.S. Attorneys, to the extent that such

member possesses the Documents and Communications requested below.

                                        INSTRUCTIONS

       The preceding Definitions apply to each of these Instructions, and for purposes of the

Requests, the following Instructions shall be followed:


       1.      All responses shall comply with the requirements of the Federal Rules of Civil

Procedure, the Federal Rules of Bankruptcy Procedure, and the Local Rules for the United States

Bankruptcy Court for the Northern District of Texas.

       2.      Unless otherwise stated in a specific Request herein, the time period covered by

the following Requests is the period of February 1, 2014 to the present.

       3.      The following Requests shall be deemed continuing in nature. In the event You

become aware of or acquire additional information Concerning any of the following Requests,

such additional information is to be promptly produced.

       4.      You are to produce all responsive Documents in Your possession, custody or

control, wherever located, including, without limitation, those in the custody of Your

representatives and affiliates. A Document is deemed to be in Your possession, custody, or

control if it is in Your physical custody, or if it is in the physical custody of any other person or

entity and You: (i) own such Document in whole or in part; (ii) have a right, by contract, statute,

or otherwise, to use, inspect, examine, or copy such Document on any terms; (iii) have an

understanding, express or implied, that You may use, inspect, examine, or copy such Document

on any terms; or (iv) as a practical matter, You have been able to use, inspect, examine, or copy
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such Document when You sought to do so. If any requested Document was, but no longer is, in

Your control, state the disposition of each such Document.

       5.      If any Document requested herein was formerly in Your possession, custody or

control and has been lost or destroyed or otherwise disposed of, You are requested to submit in

lieu of any such Document a written statement (a) describing in detail the nature of the

Document and its contents, (b) identifying the person(s) who prepared or authored the Document

and, if applicable, the person(s) to whom the Document was sent, (c) specifying the date on

which the Document was prepared or transmitted, and (d) specifying the date on which the

Document was lost or destroyed and, if destroyed, the conditions of and reasons for such

destruction and the person(s) requesting and performing the destruction.

       6.      If any part of the following Requests cannot be responded to in full, please

respond to the extent possible, specifying the reason(s) for Your inability to respond to the

remainder and stating whatever information or knowledge You have Concerning the portion to

which You do not respond.

       7.      If You object to any of these Requests, state in writing with specificity the

grounds of Your objections. Any ground not stated shall be waived. If You object to a particular

portion of any Request, You shall respond to any other portions of such Request as to which

there is no objection and state with specificity the grounds of the objection.

       8.      The fact that an investigation is continuing or that discovery is incomplete shall

not be a justification for failing to respond to these Requests based on the knowledge or

information that You possess at the time You respond to these Requests. If an investigation is

continuing or discovery is not complete with respect to the matter inquired into by any Request,

so state in Your response to that Request.

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       9.      Where any copy of any Document whose production is sought herein, whether a

draft or final version, is not identical to any copy thereof, by reason of alterations, notes,

comments, initials, underscoring, indication of routing, or other material contained thereon or

attached thereto, all such non-identical copies are to be produced separately.

       10.     The words “and” and “or” are to be construed both conjunctively and

disjunctively. The singular form of a noun or pronoun includes the plural form and vice versa.

The word “all” shall also include “each of,” and vice versa. The word “any” shall be construed

to mean “any and all” where the effect of such construction is to broaden the scope of the

Request.

       11.     If there are no Documents responsive to any particular Request, please state so in

writing.

       12.     A Request for any Document shall be deemed to include a request for any and all

transmittal sheets, cover letters, exhibits, enclosures, or attachments to such Document, in

addition to the Document in its full and unexpurgated form.

       13.     Each Request for Documents herein includes a request for exact copies of all

disks, CDs, DVDs, flash drives, memory sticks, and other removable media containing any

information responsive to such Request.       Electronic records and computerized information

should be produced in an intelligible format or together with a sufficient description of the

system or program from which each was derived to permit rendering the material legible.

       14.     If the identity of Documents responding to a Request is not known, then that lack

of knowledge must be specifically indicated in the response. If any information requested is not

in Your possession, but is known or believed to be in the possession of another person or entity,

then identify that person or entity and state the basis of Your belief or knowledge that the

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requested information is in such person’s or entity’s possession.

       15.       Produce all Documents as they are kept in the ordinary course of business.

       16.       Provide all Electronically Stored Information in accordance with the

specifications attached hereto as Exhibit 1.

       17.       To the extent you refuse to respond to any Request, in whole or in part, on

grounds of privilege, identify the withheld Document or Communication on a privilege log

stating: (i) the identity of the person(s) who prepared or authored the Document or took part in

the Communication; (ii) the person(s) to whom the Document was shown or otherwise disclosed;

(iii) the date(s) on which the Document was prepared and disseminated, or on which the

Communication transpired or was disclosed; (iv) the general subject matter of the Document or

Communication; (v) the nature of the Document or Communication (e.g., telephone conference,

office conference); and (v) the basis for the claim of privilege or withholding. Any redactions to

Documents shall be prominently identified with a mark indicating the location and size of the

redacted area.

                                      DOCUMENT REQUESTS

       1.        All Documents concerning Vinnik’s alleged theft of bitcoin from MtGox.

       2.        All Documents concerning any alleged theft of bitcoin from MtGox by BTC-e, or

any other related person or entity.

       3.        All Documents concerning any potential, considered, or actual recovery of

Bitcoin from accounts controlled by Vinnik or associated persons.

       4.        All Documents concerning any potential, considered, or actual recovery of

Bitcoin from accounts controlled by BTC-e or associated entities.

       5.        All Documents concerning the accounts called “WME”, “Vamnedam”, “Grmbit”,

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and “Petr.”

       6.     All Documents concerning assets of MtGox forfeited to the United States.




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                                               EXHIBIT 1

Production Specifications of ESI. Documents created or stored electronically must be produced in their
original electronic format, and not printed to paper or PDF. All electronically stored information (“ESI”)
shall       be       produced        in       electronic     form       (the       “production       set”).

Each document will have its own unique identifier (“Bates number”), which must be consistently
formatted across the production, comprising of an alpha prefix and a fixed length number of digits (e.g.,
“PREFIX0000001”).

The production set shall consist of, and meet, the following specifications:

    A. Image Files. All ESI will be rendered to single-page, black and white, Group IV tagged image
       file (“.tif” or “.tiff”) images with a resolution of 300 dpi, where in the file name for each page is
       named after its corresponding Bates number. Records in which a color copy is necessary to
       interpret the document (e.g., photographs, presentations, AUTOCAD, etc.) will be rendered to
       higher resolution, single-page joint photographic experts group (“.jpg” or “.jpeg”) format.
       Endorsements must follow these guidelines:

            a. Bates numbers must be stamped on the lower right hand corner of all images.

            b. Confidentiality must be stamped on the lower left hand corner of all images.

            c. Other pertinent language may be stamped on the bottom center, or top of the images, as
               deemed necessary.

    B. Load Files. All ESI must be produced with appropriate data load files, denoting logical document
       boundaries. The following files should be included within each production set.

            a. A Concordance delimited ASCII text file (“.dat”).

                     i. The .dat file will contain metadata from the original native documents, wherein
                        the header row (i.e., the first line) of the .dat file must identify the metadata
                        fields.

                    ii. The .dat file must be delimited with the standard Concordance delimiters (the use
                        of commas and quotes as delimiters is not acceptable):

                                 ASCII 020 [¶] for the comma character;
                                 ASCII 254 [þ] for the quote character; and
                                 ASCII 174 [®] for new line.

                    iii. All attachments, or child records, should sequentially follow the parent record.

                    iv. The      following      fields     and      metadata     will     be     produced:


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                        Beginning Bates; Ending Bates; Beginning Bates Attachment; Ending Bates
                        Attachment; Custodian; File Name; From; Recipient; CC; BCC; Subject; Date
                        Sent; Time Sent; Last Modified Date; Last Modified Time; Author; Title; Date
                        Created; Time Created; Document Extension; Page Count; MD5Hash; Text Path;
                        and Native File Path.

            b. Image cross-reference files, Opticon image file (“.opt”) and IPRO View Load file (“.lfp”),
               which link images to the database and identifies appropriate document breaks.

    C. Text Files. All ESI will be produced in a word searchable, text file format (“.txt”), at the
       document level for all records. Such text files may be delivered as multi-page ASCII or, where
       appropriate, Unicode text files and named after its corresponding Bates number. All records must
       include:

            a. extracted text for all ESI, at the document level, wherein the text files must have page
               breaks that correspond to the pagination of the image file; and/or

            b. optical character recognition (“OCR”) text, at the document level, for records where:
               (1) embedded or extracted text does not exist in the electronic document; (2) the
               document originated in a hard-copy format; and/or (3) OCR must be run on documents so
               as not to reveal the contents any redacted material.

        The text files may be placed in an individual folder, from which the full path for each text file
        should correspond to its record in the .dat file and populated under the Text Path field.

Native Files. ESI that cannot be interpreted in an image format, or for such that may be voluminous and
burdensome when printed to image files, may be produced in its native format, with its file name
corresponding to its designated Bates number. Such files include Microsoft Excel, PowerPoint and
Access file types, multimedia files (e.g., “.avi”, “mpeg”, “.wmv”, “.mp3”, etc.), AUTOCAD files, source
code, and other files that may be requested and/or agreed upon by counsel. All native files produced must
contain a corresponding image placeholder with appropriate endorsements, as well as extracted text.




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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)
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                                       UNITED STATES BANKRUPTCY COURT
                                                           Texas, Dallas Division
                                      Northern District of _________________________________________
  _________________________________________
      MtGox Co., Ltd. (a/k/a MtGox KK)
In re __________________________________________
                                    Debtor
                                                                                              14-31229 (SGJ)
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                             15
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
      U.S. Attorney's Office, Northern District of California, attn. Savith Iyengar and Wil Frentzen
  To: ________________________________________________________________________________________
                                          (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material:

  PLACE                                                                                                      DATE AND TIME
 Brown Rudnick LLP, Seven Times Square, Fl. 47, New York, NY 10023                                          May 14, 2021

      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
        March 26,, 2021
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                     s/David J. Molton
                                                                                            ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party)
   Foreign Representative of MtGox Estate
  ____________________________              , who issues or requests this subpoena, are:
  David J. Molton, Brown Rudnick LLP, (212) 209-4800 (dmolton@brownrudnick.com) (address listed in "PLACE" field)
                                         Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)
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                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
              Case 14-31229-sgj15              Doc 202 Filed 04/02/21 Entered 04/02/21 12:31:43                                   Desc
                                                Main Document     Page 16 of 16
 Attorney or Party without Attorney:                                                                                 For Court Use Only
 David J. Molton (#)
 BROWN RUDNICK, LLP
 Seven Times Square, Fl 47
 New York, NY 10023
   Telephone No: (201) 209-4800

      Attorney For:                                              Ref. No. or File No.:
                       Foreign Representative of MtGox
                                                                 031727.0001
                       Estate
 Insert name of Court, and Judicial District and Branch Court:
 United States Bankruptcy Court for the Northern District of Texas Dallas Division
     Plaintiff:   In Re: MtGox Co., Ltd. (a/k/a MtGox KK)
 Defendant:

           PROOF OF SERVICE                  Hearing Date:               Time:           Dept/Div:       Case Number:
                                             May 14, 2021                                                14-31229


1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the FOREIGN REPRESENTATIVE’S NOTICE OF SUBPOENA DUCES TECUM ON THE UNITED STATES
      ATTORNEY’S OFFICE FOR THE NORTHERN DISTRICT OF CALIFORNIA (SAN FRANCISCO DIVISION); SUBPOENA TO PRODUCE
      DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR
      ADVERSARY PROCEEDING)

3.    a.    Party served:     U.S. Attorney’s Office, Northern District of California
      b.    Person served:    Veronica Ng, Authorized to Accept Service

4.    Address where the party was served:       450 Golden Gate Ave, San Francisco, CA 94102

5.    I served the party:
      a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Fri, Mar 26 2021 (2) at: 03:00 PM

     b. Witness Fees Paid: $15.00

6. Person Who Served Papers:
   a. Andy Esquer (2013-0001009, San Francisco)                                           d. The Fee for Service was: $189.39
   b. FIRST LEGAL
      600 W. Santa Ana Blvd., Ste. 101
      SANTA ANA, CA 92701
   c. (714) 541-1110




7.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                 04/01/2021
                                                                                    (Date)                               (Signature)




                                                                     PROOF OF                                                                5507564
                                                                      SERVICE                                                             (11642337)
